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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION


    MATTHEW THOMAS HOUFF,                   Case No.: 4:22-CV-04070-KES

                     Petitioner,
                                            GOVERNMENT’S MEMORANDUM
    v.                                       IN SUPPORT OF ITS ANSWER
                                               AND MOTION TO DISMISS
    UNITED STATES OF AMERICA,

                     Respondent.


         This matter is before the Court upon its order dated June 1, 2022,

directing the government to file its response to Matthew Thomas Houff’s motion

under 28 U.S.C. § 2255 to vacate, set aside, or correct sentence by a person in

federal custody (§ 2255 motion). Docket 1, 6. 1 The United States respectfully

submits this memorandum of law in support of its answer and motion to dismiss.

                                   BACKGROUND

         A.   Procedural History.

         A grand jury charged Houff and 2 others with conspiracy to distribute a

controlled substance in December 2019. CR Docket 1. A later Superseding

Indictment added additional codefendants.          CR Docket 34.        A Second




1 Entries from the docket in Houff’s underlying criminal prosecution (4:19-cr-
40115-KES) will be cited as “CR Docket” followed by the appropriate docket
number and page if applicable. References to the transcript of Houff’s change-
of-plea hearing will be to “PT” followed by the relevant page number. References
to the transcript of Houff’s sentencing hearing will be to “ST” followed by the
relevant page number. Citations to filings in this civil matter will be cited to as
“Docket” followed by the specific document number and page if applicable.
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Superseding Indictment added a charge of conspiracy to launder monetary

instruments against Houff. CR Docket 55.       A Third Superseding Indictment

added a charge of failure to appear against Houff. CR Docket 140, 219. A Fourth

Superseding Indictment added additional defendants and a forfeiture allegation.

CR Docket 223.    Houff was represented by attorney Ryan Kolbeck as of March

26, 2020. CR Docket Entry, March 26, 2020.

      Pursuant to a written plea agreement, Houff pleaded guilty to Counts 1

and 2 of the Fourth Superseding Indictment. CR Docket 281, 292; PT 16. On

June 3, 2021, the Court varied downward from a Guidelines range of life

imprisonment and sentenced Houff to serve a term of 360 months’ custody on

Count I and 240 months’ custody on Count 2, with the sentences to run

concurrently. CR Docket 339, 341; ST 15. Houff did not appeal to the Eighth

Circuit Court of Appeals. See generally CR Docket.

      On May 31, 2022, Houff filed a Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255. Docket 1. Houff’s § 2255 motion and

supporting memorandum include 4 grounds. He claims (1) counsel failed to

explain the Guidelines and his Presentence Investigation Report (PSR), failed to

suppress evidence wrongly used against him and test the credibility of the

evidence, did not discuss pleading options, and did not go through discovery; (2)

jurisdictional issues exist because his crimes were committed in California; (3)

excessive sentencing in that his PSR was “all wrong and not true,” which means

“points were wrongly added up and used against [him]” which caused him to be

“sentenced to the wrong guidelines”; and (4) “similar sentencing or like


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sentencing” did not occur because he and his codefendants were all responsible

for each other’s actions, and yet he got the most time, which he claims is unfair

and wrong. Docket 1 at 5, 6.

                        ARGUMENT AND AUTHORITIES

      A.    Timeliness.

      A one-year statute of limitations applies to § 2255 motions, starting on the

date a conviction becomes final. 28 U.S.C. § 2255(f). Houff was sentenced on

June 3, 2021, and the judgment on his conviction was filed June 4, 2021. He

did not appeal. His conviction became final when the time for filing a direct

appeal expired, which was 14 days later, on June 18, 2021. See Garcia-Navarro

v. United States, No. 4:16-CV-04072, 2017 WL 2123935, at *4 (D.S.D. Jan. 24,

2017), report and recommendation adopted, No. 4:16-CV-04072-KES, 2017 WL

2116131 (D.S.D. May 15, 2017), dismissed, No. 17-2291, 2017 WL 6327552 (8th

Cir. Oct. 30, 2017) (citing Fed. R. App. P. 4(b)(1)(A)(i); Moshier v. United States,

402 F.3d 116, 118 (2d Cir. 2005); Sanchez-Castellano v. United States, 358 F.3d

424, 428 (6th Cir. 2004); Kapral v. United States, 166 F.3d 565, 577 (3d Cir.

1999). Houff’s motion was timely filed on May 31, 2022. Docket 1.

      B.    Applicable Case Law for Ineffective Assistance of Counsel
            Claims.

      A motion under 28 U.S.C. § 2255 is not an appropriate remedy for every

alleged error in conviction and sentencing. Meirovitz v. United States, 688 F.3d

369, 370 (8th Cir. 2012). Section 2255 relief is only available when the court

lacked jurisdiction to impose a sentence, the sentence was imposed in violation



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of the Constitution or laws of the United States, or the sentence exceeded the

maximum sentence authorized by law. Id. Relief under § 2255 for errors of law

is appropriate “only when ‘the claimed error constitutes a fundamental defect

which inherently results in a complete miscarriage of justice.’” Id. (citing Sun

Bear v. United States, 644 F.3d 700, 704 (8th Cir. 2011) (en banc)).

       The benchmark in evaluating ineffective assistance of counsel claims is

“whether counsel’s conduct so undermined the proper functioning of the

adversarial process that the trial cannot be relied on as having produced a just

result.” Cullen v. Pinholster, 563 U.S. 170, 189 (2011) (quoting Strickland v.

Washington, 466 U.S. 668, 686 (1984)). The Supreme Court set forth the test

used to establish ineffective assistance of counsel in Strickland. To establish

ineffective assistance, a defendant must show: (1) counsel’s performance was

deficient, and (2) the deficient performance resulted in prejudice. Premo v. Moore,

562 U.S. 115, 121 (2011); Strickland, 466 U.S. at 686. Both prongs must be

satisfied to prevail on an ineffective assistance claim. Williams v. United States,

452 F.3d 1009, 1013 (8th Cir. 2006).

       To demonstrate deficient performance, a defendant must show counsel’s

errors were so “serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.” Strickland, 466 U.S. at

687.   This requires a showing that counsel’s representation fell below an

objective standard of reasonableness.      Id. at 688.   The “reasonableness” of

counsel’s conduct is “viewed as of the time of counsel’s conduct.” Auman v.

United States, 67 F.3d 157, 162 (8th Cir. 1995). A defendant “must identify the


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acts or omissions of counsel that are alleged not to have been the result of

reasonable professional judgment.” Strickland, 466 U.S. at 690. A court must

then determine whether, under the totality of the circumstances, the acts or

omissions fell outside the wide range of competent assistance, “not whether

[counsel’s representation] deviated from the best practices or most common

custom.” Id.; Premo, 562 U.S. at 122. There is a strong presumption counsel

provided adequate assistance. Strickland, 466 U.S. at 690.

      Once a defendant has shown deficient performance, he must then

affirmatively show prejudice. Id. at 687, 693. A defendant must show more than

that the error complained of had some effect on the outcome. Id. at 693. A

defendant must show there is a reasonable probability the results of the

proceedings would have been different but for counsel’s deficient performance,

that is, “a probability sufficient to undermine the confidence in the outcome.”

Id. at 694; Cullen, 563 U.S. at 190.     A “reasonable probability” requires a

“substantial” likelihood the result would have been different. Allen v. United

States, 854 F.3d 428, 432 (8th Cir. 2017).

      Satisfying the two-prong standard for ineffective assistance of counsel is

not an easy task. Padilla v. Kentucky, 559 U.S. 356, 371 (2010). The burden to

establish ineffective assistance is on the movant. United States v. Cronic, 466

U.S. 648, 658 (1984); United States v. White, 341 F.3d 673, 678 (8th Cir. 2003).

      Moreover, in considering whether trial counsel was ineffective, the

prejudice analysis “may replace the deficiency inquiry altogether if the lack of

prejudice is apparent.” O’Rourke v. Endell, 153 F.3d 560, 570 (8th Cir. 1998).


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“[T]here is no reason for a court deciding an ineffective assistance claim to

approach the inquiry in the same order or even to address both components of

the inquiry if the defendant makes an insufficient showing on one.” Strickland,

466 U.S. at 696. “If it is easier to dispose of an ineffectiveness claim on the

ground of lack of sufficient prejudice, which we expect will often be so, that

course should be followed.” Ibid.

      Furthermore, “a court must indulge a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance; that

is, a defendant must overcome the presumption that, under the circumstances,

the challenged action “might be considered sound trial strategy.” Id. at 689; see

Armstrong v. Kemna, 534 F.3d 857, 863 (8th Cir. 2008) (quoting Middleton v.

Roper, 455 F.3d 838, 846 (8th Cir. 2006)) (“Judicial scrutiny of counsel’s

performance is highly deferential, including a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional judgment.”).

“Ordinarily, we consider strategic decisions to be virtually unchallengeable

unless they are based on deficient investigation.” Worthington v. Roper, 631 F.3d

487, 500 (8th Cir. 2011).

      C.    Procedural Default and the Relitigation Rule.

      To adequately preserve a claim for collateral review, a federal prisoner

must timely raise the issue at trial and on direct appeal. See, e.g., Wainwright

v. Sykes, 433 U.S. 72, 85-86 (1977) (concluding claim defaulted when no

contemporaneous objection was lodged at trial); Murray v. Carrier, 477 U.S. 478,

490–92 (1986) (concluding claim not raised on direct appeal is procedurally


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defaulted). Accordingly, “[c]ollateral proceedings under 28 U.S.C. § 2255 cannot

be made to do service for an appeal.” United States v. Ward, 55 F.3d 412, 413

(8th Cir. 1995). Petitioners are precluded from asserting claims pursuant to §

2255 that they failed to raise on direct appeal. United States v. Frady, 456 U.S.

152, 167-68 (1982); McNeal v. United States, 249 F.3d 747, 749 (8th Cir. 2001).

When a § 2255 petitioner asserts a claim that is procedurally defaulted because

it was not raised on direct appeal, the claim can only proceed after the petitioner

has shown either: (1) actual innocence or (2) that the procedural default should

be excused because there was both cause for the default and actual prejudice to

the petitioner. Bousley v. United States, 523 U.S. 614, 621-22 (1998); McNeal,

249 F.3d at 749. Therefore, barring a claim of actual innocence, a petitioner

must show both cause for why he failed to raise an issue on direct appeal as well

as actual prejudice caused by the alleged errors.

      While the procedural default rule generally bars claims that could have

been raised on direct appeal, but were not, the relitigation rule reaches the same

result from the opposite direction. Namely, it precludes a federal defendant from

raising again a claim they did litigate a claim in the original criminal proceeding,

direct appeal, or in a prior collateral attack. See, e.g., Reed v. Farley, 512 U.S.

339, 358 (1994) (Scalia, J., concurring in part and concurring in the judgment);

Withrow v. Williams, 507 U.S. 680, 721 (1993) (Scalia, J., concurring in part and

dissenting in part); United States v. Lee, 715 F.3d 215, 224 (8th Cir. 2013);

United States v. Martin, 677 F.3d 818, 821 (8th Cir. 2012) (holding that claims

“raised and decided on direct appeal cannot be relitigated on a motion to vacate


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pursuant to 28 U.S.C. § 2255.”) (citing Davis v. United States, 673 F.3d 849, 852

(8th Cir. 2012)); Bear Stops v. United States, 339 F.3d 777, 780 (8th Cir 2003));

Thompson v. United States, 7 F.3d 1377, 1379 (8th Cir. 1993) (internal citation

omitted) (ruling argument previously resolved adversely on direct appeal “not

cognizable” under § 2255).

      D.    Additional Considerations Following Guilty Pleas.

      An allegation of ineffective assistance after a defendant had pleaded guilty

implicates additional considerations.    Guilty pleas must be voluntarily and

intelligently entered. Shoulders v. United States, No. 5:21-CV-5082, 2022 WL

3912551, at *3 (D.S.D. Aug. 31, 2022) (citing Bousley v. United States, 523 U.S.

614, 618 (1998)). To prove ineffective assistance of counsel after pleading guilty,

the petitioner must show “there is a reasonable probability that, but for counsel’s

errors, he would not have pleaded guilty and would have insisted on going to

trial.” Id. (quoting United States v. Frausto, 754 F.3d 640, 643 (8th Cir. 2014);

Hill v. Lockhart, 474 U.S. 52, 59 (1985)). “In the context of pleas a defendant

must show the outcome of the plea process would have been different with

competent advice.” Lafler v. Cooper, 566 U.S. 156, 163 (2012). “Moreover, to

obtain relief on this type of claim, a petitioner must convince the court that a

decision to reject the plea bargain would have been rational under the

circumstances.” Padilla v. Kentucky, 559 U.S. 356, 372 (2010). “A cautionary

note is in order in this context, as the Eighth Circuit repeated the admonition

that, ‘Courts should not upset a plea solely because of post hoc assertions from

a defendant about how he would have pleaded but for his attorney’s


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deficiencies.’” Shoulders, 2022 WL 3912551, at *3 (quoting Meza-Zopez v. United

States, 929 F.3d 1041, 1045 (8th Cir. 2019)).

      E.    Evidentiary Hearing.

      An evidentiary hearing may be necessary on a § 2255 motion if there are

factual issues to be resolved, but “files and records of the case may be sufficient

alone to dispose of the motion where they ‘conclusively show that the prisoner is

entitled to no relief.’” United States v. Goodman, 590 F.2d 705, 710 (8th Cir.

1979) (citations omitted); see Hodges v. United States, 368 U.S. 139, 140 (1961).

The standard in the Eighth Circuit for dismissal without a hearing is as follows:

      A § 2255 motion may be dismissed without a hearing if (1) movant’s
      allegations, accepted as true, would not entitle him to relief, or (2)
      [the] allegations cannot be accepted as true because they are
      contradicted by the record, are inherently incredible, or are
      conclusions rather than statements of fact.

Winters v. United States, 716 F.3d 1098, 1103 (8th Cir. 2013).

      F.    Houff Is Not Entitled To Relief Under § 2255.

            1. Ineffective Assistance of Counsel.

      Houff contends counsel was ineffective in several ways. He claims counsel

failed to explain the Guidelines or how the PSR would affect his sentencing; failed

to explain the plea agreement, to suppress evidence wrongly used against Houff,

or to test credibility of his codefendants; Houff was unaware of the statements

and evidence against him or his pleading options; and Houff never got to review

his discovery. Docket 1 at 5.

      At best, Houff makes a number of accusations about his counsel, generally

in a conclusory sentence without any supporting facts or details.              These


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allegations are without any evidentiary basis in the record or in his motion itself.

Conclusory or vague claims are insufficient to state a basis for relief under §

2255. Hollis v. United States, 796 F.2d 1043, 1046 (8th Cir. 1986); see Smith v.

United States, 677 F.2d 39, 41 (8th Cir. 1982) (noting conclusory allegations,

unsupported by any specific information, are subject to summary dismissal); see

also Bryson v. United States, 268 F.3d 560, 562 (8th Cir. 2001) (ruling brief,

conclusory allegations that failed to cite to the record were insufficient to support

ineffective-assistance claims).

      Aside from their conclusory nature, Houff’s claims are unavailing in

substance. The United States will respond separately to the different categories

of ineffective assistance alleged.

                    a. Guidelines and PSR Affecting Sentencing.

      Houff first claims his lawyer failed to explain the Guidelines or how his

presentence report would affect his sentencing. Docket 1 at 5. At his change-

of-plea hearing, under oath, Houff confirmed counsel had gone “over with you

what he thinks your advisory guideline range will be[.]” PT 9. He confirmed he

understood the Court would have to await a PSR and rule on objections to it,

and that the “range that I find at the time of sentencing might be different than

the estimate that [counsel] gave you.” Ibid. He also verified he understood the

Court would calculate his initial Guidelines range and would have to decide if

his sentence should be higher or lower based on the Guidelines or the sentencing

statute.   Ibid.   He also understood that he had waived his right to appeal

everything in his case except if the Court sentenced him above the Guidelines


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range. Id. at 10. The Court later instructed him that the U.S. Probation Office

would prepare a PSR, as discussed earlier in the hearing, explaining the process

involved in preparing that report. The Court informed Houff that counsel would

get the report and go over it with Houff, instructing him to read it carefully and

let counsel know if there were mistakes in the report so changes could be made

or objections filed. Finally, the Court advised Houff of the process involved at

the sentencing hearing. PT 17. “[A] defendant’s representations during the plea-

taking carry a strong presumption of verity and pose a formidable barrier in any

subsequent collateral proceedings.” Thompson v. United States, 872 F.3d 560,

566 (8th Cir. 2017) (citation omitted).

      Houff’s claims are undermined by documentary evidence from his prior

attorney. Counsel shows in his affidavit that he sent letters to Houff, while Houff

was in custody, explaining the Guidelines. Docket 12 ¶¶ 3, 4. Counsel attached

the letters to the affidavit. In the first letter, counsel thoroughly explained how

the Guidelines work starting with an explanation of the base offense level,

informed Houff about adjustments that could be made to it to increase that level,

and then advised him about reductions he could receive for accepting

responsibility. Docket 12, Exh. A at 1-2. Counsel then explained how Houff’s

criminal history would be determined, providing a copy of U.S.S.G. § 4A1.1 so

Houff could review “the rule.” Id. at 2. Counsel then proceeded to provide an

estimate of the criminal history points he believed could apply to Houff. Ibid.

Counsel also enclosed a copy of the “sentencing table” so Houff could see where

he fell, based on counsel’s estimates. Ibid. Counsel then explained that, based


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on the calculations that preceded it, his offense level and sentencing range would

be “much above the mandatory minimum” and they “should consider measures

to reduce [his] sentence.” Id. at 3. Finally, counsel attached the § 3553 2 factors

under the “sentencing statutes,” which he noted allowed arguments as to why

the Court should sentence Houff below the Guidelines.         Ibid.   Additionally,

counsel notes he “tried to foresee anything that could enhance Mr. Houff’s

sentence” but admittedly, he “did not for[e]see the gun enhancement being

applied like it was.” But as a result, he filed objections to that enhancement and

a detailed sentencing memorandum. Docket 12 ¶¶ 4-5; see CR Docket 330.

         Based on the foregoing, Houff’s claim that counsel did not advise him

about the Guidelines or the PSR is wholly without merit.         He is unable to

demonstrate deficient performance in any way, based on his own admissions

during the plea hearing, as well as the documentary evidence counsel submitted.

Those items show counsel informed Houff about the Guidelines and the PSR.

Moreover, he has not established how he was prejudiced by the allegedly

deficient behavior, because even if counsel had failed to advise him about any of

these matters, the Court addressed all of them during the change-of-plea

hearing, and he confirmed he understood. Houff’s motion should be denied as

to the allegations of ineffective assistance related to the Guidelines and the PSR.




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 Counsel actually wrote “1553” rather than “3553,” but the context makes clear
this was a typographical error. See Docket 12, Exhibit A at 3.
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                  b. Failure to Explain Plea Agreement.

      Next, Houff contends counsel did not adequately explain his plea

agreement to him. Docket 1 at 5. This conclusory statement is contradicted in

the record. The Court asked Houff at the change-of-plea hearing whether he had

read and discussed the plea agreement and plea agreement supplement with

counsel before signing them. PT 5. He confirmed those documents contained

the entirety of his agreement with the government.         Ibid.   He stated he

understood the terms of the documents.      PT 6.    He verified no promises or

assurances had been made to him, aside from those contained in the documents,

to persuade him to accept them, and he had not been threatened in any way to

get him to accept them. PT 6. He stated he knew the documents were merely

recommendations to the Court, which it could reject without allowing him to

withdraw his guilty plea. PT 6. Finally, he affirmed no one had threatened or

attempted to force him to plead guilty.    PT 6-7.    As above, “a defendant’s

representations during the plea-taking carry a strong presumption of verity and

pose a formidable barrier in any subsequent collateral proceedings.” Thompson,

872 F.3d at 566 (8th Cir. 2017).

      Counsel notes there was “little more that [he] could have done to explain

the plea deal or sentencing guidelines to Mr. Houff.” Docket 12 ¶ 6. Counsel

stated he advised Houff of the options to a defendant in his situation, and

thereafter Houff made a knowing, voluntary, and intentional decision. Ibid.

      The record, particularly from the change-of-plea hearing, contradicts

Houff’s unsupported claims. Houff there confirmed under oath that he had read


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and discussed the plea-related documents with counsel before signing them,

that the documents were the whole agreement, and that he understood them.

His claims to the contrary are insufficient to demonstrate ineffective assistance

or prejudice. This portion of his claim should be denied without a hearing.

                   c. Failure to Suppress Evidence, Challenge Witnesses or
                      Allow Houff to View Discovery.

        Houff next contends counsel failed to “suppress any evidence that was

wrongly used against [him] in court as well as test credibility of [his] co-

defendants.” Docket 1 at 5. He argues he was not aware of the statements made

and evidence used against him. He further avers he was never able to view his

discovery. Ibid.

      Houff does not specify what type of evidence should have been suppressed,

whether some evidence collection was unlawful, or the basis for any suppression

issue. Ibid. He does not explain whether the evidence that ostensibly should

have been suppressed was physical evidence, statements he made, or something

else. He does not specify which statements from which codefendants would

potentially be subject to some credibility challenge. Nor does he clarify what

about a challenge to any evidence would have caused a change of heart such

that he would not have pleaded guilty and proceeded to trial instead.

      Conversely, counsel knew exactly what evidence the prosecution had

against Houff. Counsel noted in the letter he sent to Houff that he was aware

the government believed it could prove a minimum of 34 pounds of

methamphetamine was attributable to Houff. Docket 12, Exh. A at 1. Counsel

knew the conspiracy involved at least 5 people and that Houff was an organizer
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or leader, calling for separate enhancements for each. Counsel knew Houff could

get an obstruction enhancement for failing to appear. Ibid. Counsel also was

aware of Houff’s criminal history, though counsel believed the history would

result in more criminal history points than the PSR actually attributed to Houff

(to Houff’s benefit). See id. at 3; PSR ¶ 137. Further, counsel explained to Houff

that he could get a reduction for acceptance of responsibility, which “will be key

in your case.”   Docket 12, Exh. A at 2.     Counsel explained that Houff had

“mentioned reviewing the discovery for any suppression issues,” noting he

“completely agree[d]” with Houff doing so. But counsel advised, “if you file a

suppression motion and lose, or file the motion, win, but then lose at trial, the

Court will not give you this reduction.” Ibid.

      The evidence against Houff was overwhelming. He did not object to five

paragraphs of information in the PSR that outlined admissions he made about

his own conduct. He admitted driving 20 pounds of methamphetamine from Los

Angeles to Sioux Falls with a coconspirator in July 2019, and that he purchased

15 pounds of the drug from another. PSR ¶ 90. He provided law enforcement

with names of other coconspirators and their role in his drug trafficking

organization. PSR ¶ 91. He explained how another coconspirator taught him

how to traffic the drug by concealing his cell phones, internet usage, and

financial transaction fingerprint. PSR ¶ 92. Additionally, he explained how he

was contacted by a South Dakota State Penitentiary inmate about distributing

for the inmate and receiving 12 to 15 pounds of methamphetamine from the




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inmate’s associate. PSR ¶ 93. Finally, he also admitted selling fentanyl pills

that led to two individuals overdosing on the drug. PSR ¶ 94.

      Houff provides no specific claim about what suppression motions should

have been filed or how any such motion would have benefitted him. At no point

does he provide any claim as to what additional pretrial investigation should

have been conducted or what it might have revealed. He also provides no specific

claim as to what discovery he was unable to view. Houff, therefore, has failed to

allege any error, let alone that he was prejudiced. Given the amount of evidence

against him, including extensive involvement to which Houff admitted, there

exists no reasonable probability that, had counsel not erred, Houff would not

have pleaded guilty but instead would have insisted on going to trial. Frausto,

754 F.3d at 643. These allegations of ineffective assistance of counsel are refuted

by the record, and Houff is unable to demonstrate prejudice. His conclusory

claims should be denied without an evidentiary hearing.

            2. Jurisdictional Issue.

      Houff’s second allegation is listed as “jurisdictional issues.” Docket 1 at

5. He avers all his crimes were committed in the State of California and not

South Dakota. As a result, he contends, “South Dakota had no right to sentence

or indict” him. Ibid.

      A prisoner “claiming the right to be released upon the ground . . . that the

court was without jurisdiction to impose such sentence . . . or is otherwise

subject to collateral attack, may move the court which imposed the sentence to

vacate, set aside or correct the sentence.” 28 U.S.C. § 2255(a); see Raymond v.


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United States, 933 F.3d 988, 991 (8th Cir. 2019) (noting § 2255 may provide

relief for jurisdictional error, constitutional error, or an error of law).

         A federal district court has subject matter jurisdiction over federal drug

cases.     See 18 U.S.C. § 3231 (conferring original jurisdiction “of all offenses

against the laws of the United States”). Additionally, “[i]n a conspiracy case,

venue is proper in any district in which any act in furtherance of the conspiracy

was committed by any of the conspirators even though some of them were never

physically present there.” United States v. Hull, 419 F.3d 762, 768 (8th Cir.

2005).

         In the factual basis statement, Houff admitted his conspiracy activities

occurred “in the District of South Dakota as elsewhere.” PSR ¶ 5. He also

admitted he distributed methamphetamine to coconspirators, who redistributed

the drug to buyers in South Dakota. Ibid. He admitted the drug distribution

involved U.S. Currency wire deposits and transfers.          Ibid. He admitted that

coconspirators wired funds from the sale of meth to Houff using phone

applications, and that he instructed them on the way to wire money acquired

from methamphetamine sales to him. Ibid.

         His PSR showed coconspirators were caught with or admitted receiving

drugs in Sioux Falls. Houff had packages sent to him, but had others receive

them, paying others to receive the packages for him. PSR ¶ 11. He had repeated

conversations with coconspirators about drugs and prices for multi-pound

shipments of methamphetamine. PSR ¶ 12. He sent numerous packages from

California to a coconspirator’s home in Sioux Falls. PSR ¶ 13. Among multiple


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other transactions and acts Houff was involved in, two coconspirators informed

law enforcement that Houff had mailed 8 kilograms of methamphetamine to

Sioux Falls. PSR ¶¶ 29, 31. Another coconspirator transported between $15,000

and $20,000 from Houff’s distributor in South Dakota to Houff in California.

PSR ¶ 33. Other individuals detailed numerous transactions directed by Houff

in Sioux Falls or transportation of drugs between California and Sioux Falls

either directed by Houff or involving him.     PSR ¶¶ 36-89.     When he was

interviewed, Houff admitted he and a coconspirator drove 20 pounds of the drugs

from Los Angeles to Sioux Falls in July 2019. PSR ¶ 90.

      Based on the numerous acts Houff took in furtherance of the conspiracy,

venue in a federal district court in South Dakota was proper. The Court had

jurisdiction over the federal statutes under which Houff was charged and

convicted. Jurisdiction was proper in this District, and Houff’s claim to the

contrary is without merit.

            3. Houff’s Remaining Claims are Procedurally Defaulted.

                  a. Alleged Excessive Sentencing.

      Houff next contends an “excessive sentencing” occurred. Docket 1 at 6.

He argues his PSR was “all wrong and not true which means my points were

wrongly added up and used against me in sentencing which caused me to get

sentenced to the wrong guidelines.” Ibid.

      Houff’s claim is conclusory. He does not explain what about his Guidelines

range was calculated incorrectly. He does not cite authority demonstrating how

enhancements were erroneously applied to him. He does not clarify what portion


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of his criminal history calculation was inapplicable to him. He claims nothing

more than that his “points were wrongly added up and used against” him at

sentencing. Because his claims lack specificity, they lack merit. This claim

should be denied on its face because it is conclusory only. Hollis, 796 F.2d at

1046.

        “Ordinary questions of guideline interpretation falling short of the

miscarriage of justice standard do not present a proper section 2255 claim.” Sun

Bear, 644 F.3d at 704 (en banc) (internal marks omitted). The Sun Bear court

added, “an error of law does not provide a basis for collateral attack unless the

claimed error constituted a fundamental defect which inherently results in a

complete miscarriage of justice.” Ibid. Houff has not shown a miscarriage of

justice occurred in the Court’s calculation or use of the Guidelines in

determining his sentence.

        But Houff’s claims also fail procedurally.      This claim about the

enhancement for a firearm was presented to this Court and addressed at

sentencing.    ST 2-6.   The Court overruled Houff’s objection to the firearm

enhancement. ST 6. Houff did not appeal the application of the enhancement,

likely because he waived his right to appeal issues related to application of the

Guidelines, absent an upward departure or variance. PT 10.

        Notwithstanding the waiver, Houff’s claim related to application of the

Guidelines is procedurally defaulted because he failed to raise this issue before

the Eighth Circuit Court of Appeals. He has not shown why the issue was not

raised there after he brought the issue to this Court’s attention at sentencing.


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This collateral proceeding cannot be used to take the place of an appeal, and

Houff is precluding from presenting this claim that he failed to raise on appeal.

Ward, 55 F.3d at 413; Frady, 456 U.S. at 167-68; McNeal, 249 F.3d at 749.

Moreover, Houff has failed to show actual innocence, or that his procedural

default should be excused based on cause and actual prejudice to him. Bousley,

523 U.S. at 621-22. He simply makes the conclusory claim that his Guidelines

were calculated incorrectly. This claim should be denied without a hearing.

                  b. Alleged Failure to Sentence Houff Similarly to Others.

      Houff next claims that, “due to the fact that im in a conspiracy case im

entitled to get like sentencing or similar sentencing to my codefendants due to

the fact we all are responsible for each others actions.” Docket 1 at 6. He

complains he received “the most time in my case when we all committed the

same crimes [and] this is unfair and wrong.” Ibid.

      As noted above, collateral proceedings may not be used to take the place

of an appeal, meaning Houff is precluding from presenting this claim that he

failed to raise on appeal. Ward, 55 F.3d at 413; Frady, 456 U.S. at 167-68;

McNeal, 249 F.3d at 749. Houff has not shown he is actually innocent of the

charges to which he pleaded guilty, nor has he shown the procedural default

should be excused. Bousley, 523 U.S. at 621-22.

      A sentencing disparity among codefendants is not a basis for relief in a §

2255 motion. The Eighth Circuit has repeatedly rejected claims that a defendant

is entitled to a downward departure to reduce a disparity with a codefendant’s

sentence. See United States v. Watson, 480 F.3d 1175, 1177 n. 3 (8th Cir. 2007)


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(“We have repeatedly rejected this argument [that a defendant is entitled to a

downward departure under the Guidelines in order to reduce the disparity

between his sentence and a codefendant's sentence].”); United States v.

Anderson, 446 F.3d 870, 877 (8th Cir. 2006) (“[T]he district court correctly

recognized that a sentencing disparity among co-defendants is not a proper basis

for a departure under the guidelines.”); United States v. Polanco, 53 F.3d 893,

897 (8th Cir. 1995) (“Disparity between sentences imposed on codefendants is

not a proper basis for departure.”).

      Any disparity between Houff’s sentence and that of other coconspirators

was based on the amount of methamphetamine he admitted to purchasing and

distributing, the firearm involved, his organizer or leader role, and the

enhancement for committing the offense as part of a pattern of criminal conduct

engaged in as a livelihood.    See PSR ¶¶ 117, 118, 120.      As a result of the

enhancements, combined with his Criminal History Category of III, his

Guidelines range was life imprisonment. ST 7; PSR ¶ 177. Houff’s history and

involvement placed him at a higher Guidelines range than other codefendants.

He waived his right to appeal those calculations unless the Court sentenced him

above the Guidelines range.      It did not, and in fact varied downward and

sentenced him below that range to a term of 360 months’ custody.       The Court

explained his role in this offense was equal to or greater than another primary

coconspirator. It noted Houff’s firearm enhancement, as well as the fact he failed

to appear after he had been released, coupled with his role in the offense made

a lengthy period of incarceration appropriate. ST 15.


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       As explained above, “[o]rdinary questions of guideline interpretation falling

short of the miscarriage of justice standard do not present a proper section 2255

claim.” Sun Bear, 644 F.3d at 704 (en banc) (internal marks omitted). Moreover,

“an error of law does not provide a basis for collateral attack unless the claimed

error constituted a fundamental defect which inherently results in a complete

miscarriage of justice.” Ibid. Just as with his previous claim, Houff has not

shown a miscarriage of justice resulting from the Court’s Guidelines calculation

or ultimate sentence.

       Because he procedurally defaulted on this claim, and because Guidelines

interpretation falls short of showing a miscarriage of justice, Houff’s final claim

should fail. It should be denied without an evidentiary hearing.

                                  CONCLUSION

       Based upon the foregoing, Houff’s § 2255 petition should be dismissed,

and an evidentiary hearing is not required. See United States v. Goodman, 590

F.2d 705, 710 (8th Cir. 1979) (“files and records of the case may be sufficient

alone to dispose of the motion where they ‘conclusively show that the prisoner is

entitled to no relief.’”).

       Dated and electronically filed September 28, 2022.

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on September 28, 2022, a true and

correct copy of government’s Memorandum in Support of its Answer and Motion

to Dismiss was served upon the following person, by placing the same in first-

class U.S. Mail, postage prepaid, addressed as follows:

      Matthew Houff
      79393-112
      Three Rivers FCI
      P.O. Box 4200
      Three Rivers, TX 78071

                                           /s/ Eric Kelderman
                                           ________________________________
                                           Eric Kelderman
                                           Assistant United States Attorney




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